               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                               1:16 CR 64-5


UNITED STATES OF AMERICA,        )
                                 )
Vs.                              )                          ORDER
                                 )
TYQUISE DEANDRE GRIFFIN,         )
                                 )
              Defendant.         )
________________________________ )


      THIS MATTER came before the undersigned pursuant to a Motion for

Detention Hearing (#84) filed by counsel for Defendant. It appearing to the Court

that good cause has been shown for the granting of the motion and the motion will

be allowed.

                                    ORDER

      IT IS, THEREFORE, ORDERED that the Motion for Detention Hearing

(#84) is hereby ALLOWED and a hearing will be set for June 17, 2016 at 10:30

a.m. in courtroom #2 of the United States Courthouse in Asheville, North Carolina.


                                     Signed: June 8, 2016




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